
BAR ADMISSIONS PROCEEDING
PER CURIAM.
Petitioner successfully passed the Louisiana Bar Examination. However, the Committee on Bar Admissions (“Committee”) advised petitioner that it was unable to certify him for admission to the bar on character and fitness grounds relating to his failure to disclose the following information on his law school application: (1) a speeding ticket; (2) a seatbelt citation; (3) an open container citation; and (4) his arrest for driving with a suspended driver’s license.
Petitioner then applied to this court for admission to the practice of law. We remanded the matter to the Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation and appointed a commissioner to take character and fitness evidence. Following the proceedings, the commissioner filed his report with this court, recommending petitioner be admitted to the practice of law. Neither party objected to this recommendation.
Considering the commissioner’s recommendation, the absence of any objection from the Committee, and the entire record of this proceeding, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana. Accordingly, it is ordered that the application for admission be and hereby is granted.
ADMISSION GRANTED.
